amet,

Exhibit E

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/ o ne _ LPUST CLEANUP FUNDS APPLICATION |
". SUPPORTING INFORMATION

Eithez provide information in spaces provided or attach to” ppp ieeten. |
Provided supporting documentation for at answers to ‘the: extent possible.

  
   
   
  
 

 

[Please print or type! - - . ce : :
Hg List the address of the site with the UST and the name of the ‘current gecupant or. owner?

 

 

“Fairéloth Gneecy = “property and. ‘btore Mee
5637 South NC 49. . . owned by + Eulie Faircloth. C
Burlington, NC. 27215... 0s, TPeLe PHONE ane 9402, (1),
Ds List the name, address, ‘and telephone mumnber of the current | owner of the UST, and date of

acquisition.
: oy) Wo petectate. jr. Inc. -.,
- 1549 West Webb Avenue me
Bun) tegen: NC oe

co

cL. W. dee eo. inc.
°1549 West Webb Avenue
Burlington Be 27217 ©

. 6. List the volume, contents, and. use (. é. heating bull, motor fuel sales, etc.
from which a release ae been a disc pvet ed i fos

   

 

 

Reviewed by:

Date:
A.

 
 
 

| @ .
NORTH CAROLINA DEPARTMENT OF ENVIRONMENT, HEALTH, & NATURAL RESOURCES

.- DIVISION OF ENVIRONMENTAL MANAGEMENT ~
"LEAKING PET ROLEUM. UNDERGROUND, SPORRGE Sights CLEANUP FUNDS ©

   
 

“APPLICATION

“ .(Formerly "Statement A"): a4
(To ie completed by Owner or Operator .of Underground Storace Tank)

 

1/We the owner(s) and/or “operator(s) of underground storage tanks located at’ a
' FAIRCLOTH GROCERY 5637 SOUTH NC 49 BURLINGTON. NGC 27215

 

Facility ID #_07024759 0s a
A. have not willfully vigiaved: any aivetantive law, rilese or ; hanulation diglicabie to iG iseesroons storage
tanks (USTs) intended to prevent or mitigate SIRCHEREES or melee or to f acilitate ne carly detection
of discharges or releases; 0)" wipaite Oat
have not caused or. contributed to the discharge or raiaass due to willful ¢ or wanton " inisconducts
have paid any annual tank operating fees, if commercial UST, pursuant to G.S, 143-215.94C;.
has identified and fully disclosed any fee, commission, percentage, gift, or other consideration which
any owner, lessee, or operator and the-person responsible for conducting the site rehabilitation has or
will receive as a result of his employment of a person,” COmpBEy ep) poration, individual, or firm for
purposes of conducting site rehabilitation; - . ‘ . oe ony By £ .
E. understand that the Funds are only for reimbursement of costs ‘expended iy the owner or operator for
cleanup of releases and discharges of petroleum from underground storage tanks; “- eg ae 9
understand that the owner or operator is required to comply with all statutes and rules -S telating to the
- subject cleanup action regardless of eligibility for any reimbursements from the Funds, and that the
owner or operator must comply with all corrective action requirements regardless of the status of
Fund eligibility or reimbursement; . nv “2 me ps ye
G. understand that reimbursement from the Funds for ‘elestup costs doce ‘not in any way ‘represent a
: determination by the Department that the owner. or decimal is s complying with ¢ all applicable s atatntes
and rules relating to the subject cleanup; ©: =: : ; 3 : a
H. understand that reimbursement from the Funds ‘shall 11 only be for c costs directly? related to the subject
cleanup | and determined . to. be reasonable and necessary by the Department, that reimbursement
requests shall be ‘subject to audit by the Department, and that the Department. may ' seek recovery,
from the owner or operator, of any reimbursed funds relating to ineligible costs;- sp Ta
J]. _ have provided the information contained in this application and believe it to be.true.and accurate; ‘and
“J. understand that submission of a false statement, representation, or. documentation to the Department
".- under Arcicle 2! of Chapter 143 of the General Statutes, or under any rules adopted shall be ‘guilty
of amisdemeanor, punished by a fine not to exceed ten thousand dollars’ (S10, 000), or by imprisonment
not to ener six EAOAGAS | or "both.

OO #

‘ij

 

 

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. - a at ~ [signature] -

L. We Pritchett, “I ae Presidedt.t Pe

Print Name:

 

Before me peyeoudily ‘appearegl WP WPA Lr known ane HOWE to me ‘to ate the Person described
in and who executed the ete and acknowledge to and before’ me that |

executed sald instument loa vein expr eseee Senta
WITNESS 1 my y tn offi }

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Notary Public dies

My commission expires | mC) er a f
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